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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,

                        Plaintiff,                 Civil Action No. 2:17-cv-00784-JRG-RSP
               v.
                                                        CONSOLIDATE LEAD CASE
BOUNCE ENERGY, INC., ET AL,
                                                          JURY TRIAL DEMANDED
                       Defendants.


   SYMBOLOGY INNOVATIONS, LLC’S RESPONSE TO DEFENDANT COOPER
      BUSSMANN, LLC’S MOTION FOR JUDGMENT ON THE PLEADINGS

       Plaintiff Symbology Innovations, LLC (“Symbology”) respectfully responds to Defendant

Cooper Bussmann, LLC’s Motion for Judgment on the Pleadings [Dkt. 17] and would show the

Court as follows:

       Plaintiff has filed an Amended Complaint concurrently with this Response. As such, the

motion is no longer based on the operative Complaint in this case. The amendment is based on the

recent opinion of the Federal Circuit in Aatrix Software and alleges that the asserted inventions are

not conventional and thus not subject to dismissal under Rule 12.

       Plaintiff requests that the motion be denied as moot as this Court did in similar circumstances

in IDB Ventures, LLC v. DSW INC., 2:17-cv-524, Dkt. No. 18 (citing Calloway v. Green Tree

Servicing, LLC, 599 F. Supp. 2d 543, 546 (D. Del. 2009) (“As the amended complaint has

superseded the original, defendant’s motion to dismiss has become moot”).
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  Dated: April 9, 2018                               Respectfully submitted,


                                                     /s/ Thomas C. Wright
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                                 CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are
  being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on this 9th day of April, 2018.

                                                     /s/ Thomas C. Wright
                                                     Thomas C. Wright
